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                         EXHIBIT A
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  1    Call Date:      2018-09-15

  2    Call Duration:      3:10

  3    Call Begin:      20:15:44

  4    Participants

  5          RICK SINGER

  6          MARCI   PALATELLA

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  8


  9    SINGER:          Marci.

  10   PALATELLA:       Hey can you hear me?

  11   SINGER:          Yeah.

  12   PALATELLA:       Are you having dinner?

  13   SINGER:          Nope.

  14   PALATELLA:       Ok. How are you?

  15   SINGER:          Everyday's    a holiday   when I am talking   to

  16                    you.

  17   PALATELLA:       Oh yeah, ok    [laughter] . I just want you to

  18                    know. Two things, when I asked Gino, I said,

  19                    "how much do you love it there on a scale of

  20                    one to ten?" He's like,      "oh mom at like nine

  21                    five to nine seven".

  22   SINGER:          [Laughter]

  23   PALATELLA:       [UI] beyond.

  24   SINGER:          Good.



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  1    PALATELLA:    Yeah so I have to tell you for two years I

  2                  have been telling our neighbors           who are

  3                  actually    very close friends of ours--

  4    SINGER:       Hold on one quick second,         one quick second.

  5    PALATELLA:    Go ahead.

  6                               (Call minimized)

  7    PALATELLA:    I've been telling, you know I don't say much

  8                  to anybody      unless   I think they'd be a good

  9                  candidate    and so I've been telling        her about

  10                 you ...well, about       [UI] but she's definitely

  11                 really   overbearing.       So about   six weeks ago I

  12                 said look,      'cause she's been going      to

  13                 the neighbor      here. I said,    "you need to get

  14                 away from the neighbor,         you need to hire in

  15                 person,"    blah blah blah. So, finally           she saw

  16                 her daughter's        essay and realized,    she called

  17                 me, she's like, "Ok, I'm in, I blew it," and

  18                 I said "I am gonna give you the name but

  19                 before   I do I need to tell you, you need to

  20                 let him work with her by himself.           This can't

  21                 be about you. She needs to have a

  22                 relationship     with him, blah blah blah. So,

  23                 and so she wants she's pressing          me for what

  24                 it costs.    I said "ok,--



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  1    SINGER:       Right.

  2    PALATELLA:     --"I'm gonna tell you the truth about

  3                  everything      and you can't tell anyone".

  4    SINGER:       Right.

  5    PALATELLA:    I told--     I didn't   tell her even everything.

  6    SINGER:       Right.

  7    PALATELLA:    She was screaming       in the phone       to me, "that

  8                  is the biggest       bunch of bullshit       I've ever

  9                  heard    in my life. Who the fuck did, what,

  10                 screaming,      Doug would never ...
                                                       ". I said,

  11                  "Stop."    "Nobody else does this."         I said,

  12                  "liar, liars. You know they're         not telling

  13                 you the truth". So she just came over and

  14                 said to me, "you were totally          wrong.

  15   SINGER:        [Laughter]

  16   PALATELLA:     [Laughter] Ok. Absolutely,        I said,     "I gotta ...
                                                                              "

  17                 She said to me, "Absolutely         not. We had a

  18                 conference      call with him and and it        1S


  19                 extremely     expensive     but Doug is willing        to

  20                 pay the eight thousand         dollars."    I'm like

  21                 here    is my jaw dropped      I'm like ok. You

  22                 you know way more than I do.          [Laughter] I'm

  23                 like, I tried so hard. I mean 1-- I'm if I am

  24                 gonna    tell somebody      about you, I'm



                                      3




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  1    SINGER:        [OV] Uh hm.

  2    PALATELLA:    it's gonna be very few people          and I will

  3                  preface     it with I'll

  4                   I'll hand you the right people.          I am like oh

  5                  my God, I don't think Rick ...

  6    SINGER:       I did not, we did not, we didn't          go into any

  7                  of that because       the mom--first    of all, I

  8                  first get there and we start doing her

  9                  application      which was all done wrong and I

  10                 start going through         this thing and she's

  11                 telling    me, you know,      "we gotta have National

  12                 Charity    League".    I said,   "you're not having

  13                 National     Charity League.     It's for a bunch of

  14                 rich spoiled      little girls and moms".

  15   PALATELLA:    Totally.

  16   SINGER:       And the daughter,      Maddie,   gets it, she's

  17                 like,     "mom, you don't get it. We're still

  18                 gonna put it on,but we're gonna take the

  19                 activities      and make them each individual       and

  20                 not use NCL as our, as as as our

  21                 framework".      She gets it.

  22   PALATELLA:    [OV] She's a great kid.

  23   SINGER:       And her mom, yeah and her mom's         getting

  24                 pissed.



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  1    PALATELLA:    Oh yeah.

  2    SINGER:        I could see her getting pissed       the whole

  3                   time. Right.

  4    PALATELLA:     [Laughter] I think she would be a fit with

  5                  you by the way.

  6    SINGER:       Right.     I said, "listen, you gotta back off,

  7                  you don't know anything.        So back off, Maddie

  8                  and I got it. If you want to sit here and

  9                  listen    the whole time. So by the time we are

  10                 done after an hour and half,        she's like, "I

  11                 get it, it's yours.        Just take it over".    I'm

  12                 like no shit Shakespeare.

  13   PALATELLA:    Exactly.    She she she's telling me how she

  14                 was,   I know him so well now, I know

  15                 everything.     I said,    "Oh Gosh it's so great

  16                 you've    had so many meetings".     And then it

  17                 turns out she's met you once.        I said, "and

  18                 now, and now you need to leave the God damn

  19                 room ok".

  20   SINGER:       Yes.

  21   PALATELLA:    You know, it's-- I can't, uhh I know and I

  22                 said to her it's gonna be his show and not

  23                 you. This was uh six weeks ago I was at the

  24                 Houston    airport,   she was screaming    so loud I



                                     5




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  1                   had to take it off speaker phone         [laughter].

  2    SINGER:        [Laughter]

  3    PALATELLA:     She said to me, that is the biggest,         and

  4                  you know she is a devout Mormon        follower,    but

  5                   she is saying that's the biggest         fucking

  6                  bunch    of bullshit    I've ever heard    in my life.

  7                   I mean crazy, went ballistic.

  8    SINGER:        I love it.

  9    PALATELLA:    No one would ever do that and I know tons

  10                 of people     who work with him. And I said no

  11                 you don't and if you do they're        lying ok.

  12   SINGER:       That's    right    [laughter].

  13   PALATELLA:    Everyone    lies. One of my very best friends

  14                 the Wilsons,      are uh with Johnny   are ...

  15   SINGER:       Yeah    I just talked to, I just talked to urn

  16                 them this morning.

  17   PALATELLA:    They're,    they're,    and and I know I knew you

  18                 were gonna work with the girls cause she told

  19                 me. She's they, I said she's one of my best

  20                 friends    and when I said to her,     "come on,

  21                 what does it really cost? I said I can't

  22                 figure    this out there is no way it's seven

  23                 thousand    dollars,    she said to me, "you should

  24                 talk to John I don't really know".         Later I am



                                       6




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  1                  like oh, bullshit.        You know nobody,    no

  2                  and I, so, so and Leslie's        what,   I mean,

  3                  Leslie    and I share a lot. So I said nobody's

  4                  gonna    tell you. I am trying     to be your friend

  5                  and be honest.        She was screaming   her head

  6                  off,    "who the hell does he think he is?".

  7                  This is six weeks ago, ok?

  8    SINGER:       Right.     [laughter]

  9    PALATELLA:    I said, she goes that's ridiculous           we

  10                 probably    wouldn't     even work with him then. I

  11                 said and he won't miss you, there is a line

  12                 out the door, ok.

  13   SINGER:       That's    right    [laughter]

  14   PALATELLA:    I am trying to be your friend here.

  15                  [laughter]     [UI] I'm telling you, this would

  16                 have been like we should roast you at

  17                 your    50th birthday    or something.    It was like

  18                 oh my God I, I I swear if I played           this every

  19                 one of the people who knew you well would

  20                 have been on the floor.

  21   SINGER:       Oh totally.

  22   PALATELLA:    Oh my God, I'm like I am telling you what

  23                 no one else is gonna tell you and you don't

  24                 wanna believe me. No way I talked          to her



                                       7




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  1                  boyfriend's     parents.   Oh good ok, I am sure

  2                  they confided       everything   in you.

  3    SINGER:        [OV]

  4    PALATELLA:    So anyway and she--

  5    SINGER:       Let-Let   me, let me grab this call with this

  6                  young man. This is the kid who hasn't even

  7                  applied   anywhere     and he's a senior    -

  8

  9    PALATELLA:     [OV] Go, go, go.

  10   SINGER:       -and he hasn't even done- See you, ok, bye

  11                 bye.

  12

  13                         End of Audio     File




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